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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA               )
                                       )
                                       )
      v.                               )       CRIMINAL NO. 21-CR-623 (CRC)
                                       )
                                       )
KIRSTYN NIEMALA                        )



               DEFENSE COUNSEL’S MOTION TO WITHDRAW

      Kira Anne West, court appointed counsel for Kirstyn Niemala, pursuant to

the rules and laws of this Court, respectfully requests that this Honorable Court

allow her to withdraw her representation of Ms. Niemela. In support of this

request, she states the following:

1. Undersigned counsel has represented Ms. Niemela for approximately six

months. During this time, undersigned counsel has endeavored to represent Ms.

Niemela to the best of her ability.

2. During the last few weeks, insurmountable differences have emerged during the

course of the representation. The critical confidence that needs to be present

between a client who has been indicted criminally and her lawyer has eroded

beyond repair.



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3. Ms. Niemela’s case has not yet been set for trial. No motions have been filed in

the case and no scheduling order has been issued by the Court. Therefore, there is

no material adverse effect on her.

      For the reasons stated above, and other irreconcilable differences that

undersigned counsel is not free to divulge, undersigned counsel respectfully

requests that the Court allow her to withdraw.

                                       Respectfully submitted,

                                       KIRA ANNE WEST



                                By:              /s/
                                       Kira Anne West
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                                       Washington, D.C. 20002
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                                       Attorney for Ms. Niemela


                         CERTIFICATE OF SERVICE

      I hereby certify on the 13th day of July, 2022, a copy of same was delivered

to the parties of record, via ECF pursuant to the Covid standing order and the rules

of the Clerk of Court.

                                                   /S/

                                             Kira Anne West

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